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                         N THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                           Case No. 08-21518-Civ-JORDAN/McALILEY


   CANON LATIN AMERICA, INC.,
   a Florida Corporation,

          Plaintiff,

   v.

   LANTECH (C.R.), S.A., a Costa Rica
   company, MANUEL JIMENEZ, individually,
   and ROBERT C. VAN DER PUTTEN
   REYES, individually,

         Defendants.
   ________________________________________/

        LANTECH DEFENDANTS’ RESPONSE TO PLAINTIFF’S OBJECTIONS
    TO REPORT AND RECOMMENDATION OF THE MAGISTRATE JUDGE [D.E. 463]

          Defendants Lantech (C.R.), S.A., Manuel Jimenez, and Robert C. van der Putten (the

   “Lantech Defendants”) hereby respond to Plaintiff’s Revised Appeal from and Objections to

   Report and Recommendations of the Magistrate Judge (the “Revised Appeal”). D.E. 463.

          On May 27, 2008, on the heels of three years of litigating Canon I, Plaintiff Canon Latin

   America (“Canon”) instituted this action against the Lantech Defendants for fraudulent transfer

   and conspiracy, premised entirely on unfounded, hypothetical allegations. More than two and a

   half years later, Canon complains that it was deprived of the opportunity to cull sufficient

   evidence to raise a genuine issue of material fact regarding its claims. In her Report and

   Recommendation (“R&R”), Magistrate Judge McAliley found that Canon had sufficient

   opportunity to take discovery and that it failed to conclusively establish any basis for enlarging




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   the discovery period a second time. R&R at pp. 7-8. In so doing, the Magistrate Judge did not

   abuse her discretion.

           Magistrate Judge McAliley also correctly concluded that each of Canon’s substantive

   claims fail as a matter of law. First, Canon’s fraudulent transfer claim against Lantech (Count I)

   is time barred. Second, Canon’s civil conspiracy claim against Messrs. Jiménez and van der

   Putten (Count II) fails because Canon presented no evidence that these defendants agreed or

   planned to defraud Canon. Finally, Canon’s piercing the corporate veil claim against Mr.

   Jiménez (Count III) fails as a matter of law because he is not a Lantech shareholder. Canon’s

   inability to substantiate even the most basic allegations establishes the purely speculative nature

   of its complaint. Canon cannot blame the utter lack of evidence on a purported need for more

   discovery. See Lamar Printing, Inc. v. Minuteman Press Intern., No. C 81-05 A, 1981 WL 2080,

   *3 (N.D. Ga. May 14, 1981) (“a plaintiff should not be allowed to file a suit and then conduct

   discovery to see if he, in fact, has a case. … Discovery under the Federal Rules of Civil

   Procedure is intended to narrow the scope of the issues and to prevent surprise at trial; it is not

   intended to allow a plaintiff to go on a fishing expedition to see if the speculative complaint that

   he has filed has any basis in fact.”).

                                       I.
           MAGISTRATE JUDGE McALILEY DID NOT ABUSE HER DISCRETION
          IN DENYING CANON’S RULE 56(f) MOTION TO RE-OPEN DISCOVERY

   A.      Standard of Review: “Clearly Erroneous or Contrary to Law”

           Magistrate Judge McAliley’s denial of Canon’s motion to conduct further discovery

   pursuant to Federal Rule 56(f) is a non-dispositive matter. Slater v. Progress Energy Serv. Co.,

   LLC, 2010 WL 1408431 (M.D. Fla., April 6, 2010). Accordingly, the ruling must be affirmed

   unless “it has been shown that the magistrate judge’s order is clearly erroneous or contrary to

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   law.” Id.; Tolz v. GEICO Gen. Ins. Co., Case No. 08-80663, 2010 U.S. Dist. LEXIS 6709, *7

   (S.D. Fla. Jan. 27, 2010) (citing 28 U.S.C. § 636(b)(1)(A); Fed. R. Civ. P. 72(a) and Local Mag.

   Rule 4(a)(1)). The ‘clearly erroneous or contrary to law’ standard of review “is extremely

   deferential.” Id.; [D.E 427]. A finding is clearly erroneous only if “the reviewing court, after

   assessing the evidence in its entirety, is left with a definite and firm conviction that a mistake has

   been committed.” Id. at *7-8 (citing Krys v. Lufthansa German Airlines, 119 F.3d 1515, 1523

   (11th Cir. 1997)); see also Ford v. Haley, 195 F.3d 603, 617 (11th Cir. 1999). “The mere fact

   that a reviewing Court might have decided the issue differently is not sufficient to overturn a

   decision when there are two permissible views of the issue.” Tolz, 2010 U.S. Dist. LEXIS 6709

   at *8 (collecting cases). With respect to the “contrary to law” variant of the test, an order is

   contrary to law when it fails to apply or misapplies relevant statutes, case law or rules of

   procedure. Id.

   B.     Rule 56(f) Requires Specificity

          A party seeking to invoke Rule 56(f) to delay resolution of a motion for summary

   judgment must “show by affidavit that, for specified reasons, it cannot present facts essential to

   justify its opposition.” Fed. R. Civ. P. 56(f). Because the burden on a party resisting summary

   judgment is not a heavy one, “one must conclusively justify his entitlement to the shelter of rule

   56(f) by presenting specific facts explaining the inability to make a substantive response” and by

   “specifically demonstrating how postponement of a ruling on the motion will enable him, by

   discovery or other means, to rebut the movant’s showing of the absence of a genuine issue of

   fact.” Wingster v. Head, 318 Fed. Appx. 809, 813 (11th Cir. 2009) (citing Sec. & Exch. Comm’n

   v. Spence & Green Chem. Co., 612 F.2d 896, 901 (5th Cir. 1980)). The party seeking the

   enlargement must show how the additional discovery will defeat the summary judgment motion

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   by creating a genuine dispute as to a material fact and “may not simply rely on vague assertions

   that additional discovery will produce needed but unspecified facts, particularly where . . . ample

   time and opportunities for discovery have already lapsed.” Id. at 813-14 (internal citations and

   quotation marks omitted); see also Contemporary Mission, Inc. v. New York Times Co., 665 F.

   Supp. 248, 269 (S.D.N.Y 1989) (Rule 56(f) is not a license for a fishing expedition; plaintiffs

   need to demonstrate that the material they expect to develop by further discovery is probably

   available and is potentially favorable to them).

   C.     Magistrate Judge McAliley Acted Within Her Discretion in Finding that Canon
          Failed To Conclusively Establish Its Entitlement to Additional Discovery

          Canon’s Rule 56(f) motion did little more than demand additional blanket discovery.

   D.E. 400, 404. Canon failed to conclusively demonstrate that such discovery would favor Canon

   and create a genuine dispute, and moreover, the record did not establish that Canon had

   diligently pursued discovery.

          1.      No showing that additional discovery will create dispute

          Canon identified only one specific issue for which it sought additional discovery from the

   Lantech Defendants: Mr. Jiménez’s affidavit testimony in which he clarified that he did not

   personally guarantee one of Lantech’s loans. However, notably, testimony on this subject will

   not defeat summary judgment by creating a genuine issue of material fact: Magistrate Judge

   McAliley did not rely upon that affidavit in resolving the summary judgment motions. D.E. 454,

   p.7. Moreover, Canon offered no basis for the Magistrate Judge to conclude that deposing Mr.

   Jiménez on this topic would produce facts different from those set forth in his affidavit.

          Canon also asserted its general desire to take “substantive” depositions of the Lantech

   Defendants. This is precisely the type of vague assertion upon which a party resisting summary



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   judgment may not rely. Wingster, 318 Fed. Appx. at 813-14. In short, Canon did nothing more

   than “rely on vague assertions that additional discovery will produce … unspecified facts.” Id.

   Thus, Magistrate Judge McAliley did not clearly err or abuse her discretion in denying Canon’s

   Rule 56(f) motion.

          2.     Canon did not undertake discovery diligently

          The grant or denial of a continuance under Rule 56(f) lies within the sound discretion of

   the court. Barfield v. Brierton, 883 F.2d 923, 931 (11th Cir. 1989); Zamora Radio, LLC, v.

   Last.FM, Ltd., No. 09-20940, 2010 U.S. Dist. LEXIS 136210, *21 (S.D. Fla. Nov. 5, 2010).

   Under Rule 56(f), Canon was required to establish that it was diligent in seeking the discovery

   requested. See Barfield, 883 F.2d at 931-33 & n.11. If the explanation is insufficient or

   unpersuasive, the court may refuse to stay consideration of the motions. Id. Magistrate Judge

   McAliley did just that, having carefully reviewed the record and found that the parties had a

   broad and fair opportunity to engage in discovery. R&R at p. 7. To be sure, Canon commenced

   this action in May 2008 and had more than two years to obtain the information it needed before

   the discovery deadline expired in August 2010. Canon’s attempt to blame the defendants for its

   shortcomings is unpersuasive and unsupported by the record.

          The Purchase and Sale Agreement. Canon first complains that it did not receive the

   Purchase and Sale Agreement until May 2010, Revised Appeal at p. 14, conspicuously omitting

   the fact it did not serve a request for production of merits documents until April 2010. See D.E.

   243. Canon also implies that Lantech wrongfully withheld the Purchase and Sale Agreement in

   Canon I, suggesting that Lantech’s prior objection based on a confidentiality was a farce.

   However, the plain language of the document itself reveals that Lantech was under a duty to not




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   disclose any information regarding the Purchase and Sale Agreement. 1 Canon never sought

   judicial intervention to overcome the confidential status of the agreement.

          Document Production. Canon concedes, as it must, that it learned Lantech’s documents

   were in Difoto’s possession in Costa Rica as early as January 2007. Yet Canon inexplicably

   waited until the summer of 2010 to inspect the documents, and now complains that it did not find

   the documents it wanted, Revised Appeal at p. 14, offering no explanation for why this is

   Lantech’s fault.

          Depositions of the Lantech Defendants. Last, Canon complains that it was not afforded

   an opportunity to depose the Lantech Defendants regarding the merits of the fraudulent transfer

   claim. The record indicates otherwise. It is undisputed that Canon has deposed Mr. Jiménez on

   three occasions and has also deposed Mr. van der Putten. Magistrate Judge McAlilely “reviewed

   all the transcripts provided by the parties” and, based on that review, found it was “clear that at

   these depositions Canonlat engaged in significant discovery regarding the merits.” R&R at p. 8.

   Canon defends that those were “jurisdictional” depositions or that they occurred in Canon I. But

   the labeling of the depositions is not determinative, and does not trump Magistrate Judge

   McAliley’s close review of the subjects covered during those depositions.

          To be sure, Canon’s own corporate representative admitted under oath that Canon

   derived all of the facts in support of its complaint from the depositions of Mr. Jiménez and Mr.

   van der Putten. D.E. 349-1, Crosa dep., at 150:13-20; 151:16-22. Yet Canon now argues that

   those depositions did not yield sufficient information to create a genuine dispute of material fact.

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     See D.E. 356-2, at p. 47, Clause 19 (“The parties hereto must mutually keep confidential any
   and all information and/or documents related to this contract and the contracts derived herefrom,
   including after they end. ... [w]ith the express exception of all the information that must be
   disclosed due to a legal order. The obligation of confidentiality will remain in place for the
   parties for four years.”)

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           Canon also engages in a contrived account of the parties’ attempts to schedule the

   Lantech Defendants’ depositions.        It is undisputed that the Lantech Defendants offered to

   produce the witnesses in Costa Rica on specified dates, notwithstanding Canon’s failure to

   provide timely notice or consult the parties’ or counsels’ schedules. Revised Appeal at p. 11.

   Canon declined the Lantech Defendants’ offer, however, because it preferred to take other

   depositions instead. D.E. 452-2. Counsel for the Lantech Defendants repeatedly requested

   confirmation that the depositions would proceed on the given dates, but Canon refused to do so

   until it was too late. D.E. 452-3.2

           Canon had ample opportunity to complete discovery. Canon served a plethora of

   interrogatories, requests for admissions and requests for production upon each of the Lantech

   Defendants. But rather than timely depose witnesses, Canon instead filed meritless discovery

   motions and three unsuccessful appeals of Magistrate Judge McAliley’s discovery rulings. More

   fundamentally, this Court previously extended the discovery deadline and advised that the case

   would proceed to trial without further delay. D.E. 175, 190, 229. Canon was plainly on notice

   that it should hasten its discovery efforts, but it failed to act accordingly.

           As demonstrated above, the record substantially supports Magistrate Judge McAliley’s

   decision to deny Canon’s motion for additional time to take discovery. The Magistrate Judge did

   not abuse her discretion in finding that Canon failed to “conclusively justify” its entitlement to

   the shelter of Rule 56(f). Accordingly, this Court should adopt Magistrate Judge McAliley’s

   recommendation and deny Canon’s Rule 56(f) motions.


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    The Lantech Defendants are loathe to burden this Court with a tedious recitation of the parties’
   dispute over deposition scheduling, and respectfully refer the Court to their Opposition To
   Plaintiff’s Motion for Continuance of Trial [D.E. 452] for a full account of their efforts to timely
   complete the depositions.

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                                        II.
                    STANDARD OF REVIEW FOR DISPOSITIVE RULINGS

          A district court reviews a magistrate judge’s recommendations on a dispositive motion de

   novo. 28 U.S.C. § 636(b)(1); see also Fed. R. Civ. P. 72(b). The district court may address only

   those portions of the magistrate judge’s disposition to which a “specific, written objection” has

   been properly made. Id; Macort v. Prem, Inc., 208 Fed. Appx. 781, 784-785 (11th Cir. 2006) (no

   valid objection to magistrate’s report and recommendation where party failed to specifically

   identify objectionable portions of recommendation and specific basis for its objections). “While

   the standard of review is de novo, a district judge need not re-assess every single finding and

   determination, for the statute permits the district court to give to the magistrate’s proposed

   findings of fact and recommendations such weight as [their] merit commands, and the sound

   discretion of the judge warrants without violating a party’s due process rights, so long as the

   ultimate decision is made by the district court.” Jean-Baptiste v. Gutierrez, 680 F. Supp. 2d

   1318, 1321-22 (S.D. Fla. 2010) (internal quotations omitted) (citing U.S. v. Raddatz, 447 U.S.

   667, 683 (1980)), rev’d on other grounds, 627 F.3d 816 (11th Cir. 2010).

                                  III.
         THE MAGISTRATE JUDGE CORRECTLY CONCLUDED THAT CANON’S
        FRAUDULENT TRANSFER CLAIM AGAINST LANTECH IS TIME BARRED

   A.     Canon’s Fraudulent Transfer Claim is Time Barred

          Canon’s fraudulent transfer claim against Lantech is time barred: the parties’ Distribution

   Agreement mandates that all claims between Canon and Lantech be brought within one year

   from the accrual of the cause of action:

          ANY SUIT BETWEEN THE PARTIES, OTHER THAN FOR PAYMENT FOR
          THE PURCHASE PRICE OF THE PRODUCTS OR FOR INDEMNIFICATION
          ... SHALL BE COMMENCED, IF AT ALL, WITHIN ONE (1) YEAR OF THE
          DATE THAT CAUSE OF ACTION ACCRUES.


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   D.E. 356-1, Distribution Agreement, ¶ 19 (emphasis added).            Magistrate Judge McAliley

   concluded that the broad and unambiguous limitations language in the Distribution Agreement

   (“Any suit”) encompasses all types of claims between the parties, contractual or otherwise,

   including the fraudulent transfer claim. D.E. 454, p. 14. Canon does not object to this finding.

          The Magistrate Judge also found that Canon’s claim, first filed on May 27, 2008, was

   brought outside the one year limitation period. The possible accrual dates are:

                 December 2004 - the date of the asset sale which constitutes the alleged
                  fraudulent transfer

                 January 12, 2007 – the latest date on which Canon learned of the asset
                  sale.

                 February 1, 2007 - Canon unequivocally asserted its belief that the asset
                  sale was fraudulent.

                 March 5, 2007 - The Canon I Court entered the consent judgment
                  regarding the debt in question. Canon I, D.E. 236.

   Using any one of those benchmarks as the date of accrual, Canon failed to commence this action

   within the one year limitation period.3

          In sum, the limitations clause encompasses the fraudulent transfer claim, and that claim is

   time barred because it was commenced outside the one-year period.

   B.     Section 95.03, Florida Statutes is Inapplicable

          Canon argues that section 95.03, Fla. Stat. (2010) renders void the time limitation

   provision contained in its own Distribution Agreement. The statute provides:

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     Canon now passively argues that Magistrate Judge McAliley did not consider the possibility
   that the fraudulent transfer action accrued on July 31, 2007 – the date the Canon I Court entered
   final summary judgment. Revised Appeal, p. 16 at n.7. The Court should disregard Canon’s
   attempt to use this date for two reasons. First, it failed to raise this argument below. Williams v.
   McNeil, 557 F.3d 1287, 1292 (11th Cir. 2009) (affirming district court’s decision to disregard
   arguments raised for the first time on appeal of magistrate’s report). Second, Canon sets forth no
   reason why the date of final summary judgment is the true accrual date.

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           Any provision in a contract fixing the period of time within which an action
           arising out of the contract may be begun at a time less than that provided by the
           applicable statute of limitations is void.

    Thus, the dispositive question is whether the fraudulent transfer claim is one “arising out of the

    contract.” Magistrate Judge McAliley concluded that it is not. [D.E. 454, p. 16].

           Contrary to Canon’s assertion, Magistrate Judge McAliley’s statutory interpretation did

    not rest on Seifert v. U.S. Home Corp., 750 So. 2d 633 (Fla. 1999). Rather, she first relied on the

    bedrock principle that “where the language of the statute is plain and unambiguous there is no

    need for judicial interpretation” R&R at p. 15 (citing Forsythe v. Longboat Key Beach Erosion

    Control Dist., 604 So. 2d 452, 454 (Fla. 1992)). The Court must simply enforce that language.

    The phrase “an action arising under the contract” does not suggest an ambiguity. R&R at p. 15.

    As the Magistrate Judge found, the phrase plainly references a claim brought by a party to the

    contract to enforce the terms of that contract. R&R at p. 15-16. By contrast, a claim that one

    party to a contract fraudulently transferred its assets with the “intent to hinder, delay, or defraud”

    the other party to the contract arises independently of the contract.4

           Magistrate Judge McAliley then referenced Seifert as persuasive authority supporting her

    interpretation of the plain language.     Thus, Seifert was not a necessary component of the

    Magistrate Judge’s conclusion; it merely lent additional support.

           Lantech addresses the Seifert decision for the sake of completeness. In that case, the

    Florida Supreme Court analyzed whether the tort action before it was governed by an arbitration

    clause in the parties’ contract that required arbitration of “any controversy or claim arising under



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      By analogy, Lantech could not argue that the fraudulent transfer claim is barred by the
    economic loss rule. It is not a claim based on performance of the contract. Rather, it is a tort
    that occurred independent of the contract.

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    or related to this Agreement.” 750 So. 2d at 635. The Court surveyed decisions from Florida

    and other jurisdictions and ultimately adopted the following framework for analysis:

            If the contract places the parties in a unique relationship that creates new duties
            not otherwise imposed by law, then a dispute regarding a breach of a
            contractually-imposed duty is one that arises from the contract. … If, on the other
            hand, the duty alleged to be breached is one imposed by law in recognition of
            public policy and is generally owed to others besides the contracting parties,
            then a dispute regarding such a breach is not one arising from the contract, but
            sounds in tort.

    Id. at 640 (internal citation omitted) (emphasis added).

            Applying the same framework here compels the conclusion that the fraudulent transfer

    claim does not “arise from” the Distribution Agreement. The alleged actionable conduct in

    question is Lantech’s sale of its assets to Easton Commerce. The duty alleged to be breached is

    the duty not to engage in fraudulent transfers. This duty is not imposed by terms of the

    Distribution Agreement. Rather, it is imposed by law in recognition of Florida’s public policy,

    codified in Florida Statutes sections 726.105 and 726.106, and it is generally owed to all

    creditors.   Canon’s fraudulent transfer claim does not seek to enforce any term of the

    Distribution Agreement. Thus, section 95.03 is inapplicable and the Court may enforce the

    limitations provision.

            Canon leans heavily on Burke v. Windjammer Barefoot Cruises, 972 So. 2d 1108 (Fla. 3d

    DCA 2008) in an attempt to avoid Seifert’s framework. Canon’s reliance is misguided. In

    Burke, the Third District Court of Appeal considered whether a breach of fiduciary duty arose

    from an employment agreement. Id. at 1111-12. In that case, the contract not only created the

    relationship between the parties but also outlined the very duties claimed to be breached. Id. at

    1112. That was not true in Seifert, and, more significantly, it is not true here. The Distribution




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    Agreement does not define the manner in which Lantech could sell or otherwise dispose of its

    assets. Burke is therefore not analogous or applicable.

           Canon’s reliance on the Court’s personal jurisdiction order is similarly misplaced. In that

    order [D.E. 126], this Court held that Lantech could be haled into Court in Florida for fraudulent

    transfer. The Court did not, however, conclude that the fraudulent transfer claim arises under the

    Distribution Agreement. In fact, the passage quoted by Canon references claims “arising from”

    the Distribution Agreement on the one hand, and claims based on a fraudulent scheme on the

    other, thus distinguishing between the two. Revised Appeal at p. 18.

           In sum, Magistrate Judge McAliley correctly concluded that the fraudulent transfer claim

    is not one “arising out of the contract” between the parties, and thus section 95.03 does not void

    the one year limitation clause. Canon’s fraudulent transfer claim clearly falls outside the one

    year period and therefore is barred as untimely. Accordingly, this Court should adopt Magistrate

    Judge McAliley’s recommendation and enter summary judgment in favor of Lantech.

    C.     Lantech Did Not Waive Its Limitations Defense

           Lantech did not waive its limitations defense. Canon ignores this Court’s September 28,

    2010 order granting Lantech leave to file an amended answer and affirmative defenses on or

    before October 12, 2010. [D.E. 378]. Lantech complied with this Court’s order: on October

    12th, Lantech filed, with this Court’s permission, an amended answer and included an

    affirmative defense based on the limitations clause. [D.E. 392]. Canon cites no authority

    holding that a party that timely complies with a Court order allowing it to amend its affirmative

    defenses waives any defense not previously asserted.           Compare North Georgia Elec.

    Membership Corp. v. City of Calhoun, 989 F.2d 429, 432 (11th Cir. 1993) (failure to assert

    affirmative defense not waived since motion to amend answer had been granted).

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           Significantly, the Eleventh Circuit endorses a liberal approach to waiver of affirmative

    defenses when there is no prejudice to the plaintiff. Sweet v. Secretary, Dep’t of Corrections,

    467 F.3d 1311, n.4 (11th Cir. 2006) (collecting cases). The purpose of Rule 8(c) is simply to

    guarantee that the opposing party has notice of any additional issue that may be raised at trial so

    that he or she is prepared to properly litigate it. Blonder-Tongue Labs., Inc. v. University of

    Illinois Foundation, 402 U.S. 313, 350 (1971). When a plaintiff has notice that an affirmative

    defense will be raised at trial, the defendant’s failure to comply with Rule 8(c) does not cause the

    plaintiff any prejudice. Hassan v. US Postal Service, 842 F.2d 260, 263 (11th Cir. 1988). When

    the failure to raise an affirmative defense does not prejudice the plaintiff, the district court may

    consider the issue. Id.; Sweet, 467 F.3d at n.4 (statute of limitations properly considered where

    defendant raised it for first time on summary judgment).

           Canon has never asserted that it suffered any prejudice as a result of Lantech’s amended

    affirmative defenses. Nor does it attempt to argue that additional discovery on the limitations

    issue would yield a different result. Indeed, as demonstrated by the briefing, the limitations issue

    is based purely on textual interpretation. Thus, additional discovery would not alter the Court’s

    analysis. Accordingly, Canon has suffered no prejudice and the Court may properly consider

    Lantech’s limitations defense.

    D.     Lantech is not Estopped from Asserting a Limitations Defense

           Canon asserts for the first time in its Revised Appeal that Lantech is estopped from

    relying on a term in the Distribution Agreement because it filed its Law 6209 claim in Costa

    Rica despite a forum selection clause calling for venue in Florida. D.E. 463, p. 20. This

    argument fails for two reasons. First, this Court should disregard Canon’s estoppel argument

    because it is raised for the first time on appeal of Magistrate Judge McAliley’s Report and

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    Recommendation.        See Williams, 557 F.3d at 1292 (affirming district court’s decision to

    disregard arguments raised for the first time on appeal of magistrate’s report and

    recommendation); Armor Screen Corp. v. Storm Catcher, No. 07-CV-81091, 2010 WL 1740697,

    *3 (S.D. Fla. Apr. 22, 2010) (declining to consider newly-raised arguments in objection to

    magistrate’s order).

           Second, the Eleventh Circuit has rejected Canon’s argument that Lantech’s filing of the

    Costa Rica action was wrongful. [D.E. 153-1, ¶ 39]. Moreover, forum selection clauses are

    unenforceable “if enforcement would contravene a strong public policy of the forum in which the

    suit is brought, whether declared by statute or by judicial decision.” The Bremen v. Zapata Off-

    Shore Co., 407 U.S. 1, 8 (1972). Under Costa Rica public policy, the jurisdiction of Costa Rica

    tribunals to preside over local distributors’ Law 6209 claim cannot be waived. D.E. 395-1 at p.

    3: (Law 6209, Art. 7: “The jurisdiction of the Costa Rica courts of justice and the rights of the

    representative, distributor or manufacturer, by virtue of this law, cannot be waived”). Lantech’s

    decision to lawfully exercise its rights cannot form the basis for estoppel.

                                     IV.
                MAGISTRATE JUDGE McALILEY CORRECTLY GRANTED
             SUMMARY JUDGMENT IN FAVOR OF ROBERT VAN DER PUTTEN

           Canon’s sole claim against Mr. van der Putten is for civil conspiracy. 153-1, p. 12, Count

    II. According to Canon, Mr. van der Putten and Mr. Jiménez:

           devised a scheme whereby Lantech would transfer its assets and liabilities to
           DiFoto in a de-facto merger while, at the same time, Lantech would retain its
           corporate identity in order to bring a lawsuit in Costa Rica against Canonlat.

    Id. at ¶ 22. Canon further alleged that Mr. van der Putten “orchestrated the transfer.” Id. at ¶ 24.

           Mr. van der Putten moved for summary judgment as the unrefuted evidence affirmatively

    demonstrated that he was in no way involved in the sale of Lantech’s assets to Easton Commerce

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    and that his role was strictly limited to representing Lantech in the Law 6209 action. [D.E. 361].

    To that end, Lantech cited to multiple excerpts of uncontested deposition testimony by Mr. van

    der Putten and Mr. Jiménez. Id. at pp. 5, 7-8, nn. 12, 14. Thus, the burden shifted to Canon to

    either set forth specific facts showing a genuine issue for trial or show that the materials cited do

    not establish the absence of a genuine dispute. Fed. R. Civ. P. 56(c)(l).

           When Canon fails to make a sufficient showing on an essential element of its case with

    respect to which it has the burden of proof, then the Court must enter summary judgment for Mr.

    van der Putten. Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). “By its very terms, this

    standard provides that the mere existence of some alleged factual dispute between the parties will

    not defeat an otherwise properly supported motion for summary judgment; the requirement is

    that there be no genuine issue of material fact.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

    247-48 (1986) (emphasis added). As demonstrated below, Canon fell far short of its burden.

    A.     Canon Misconstrues the Evidentiary Threshold Governing Civil Conspiracy

           Canon contends that it need prove only that Mr. van der Putten “knew of the scheme [to

    defraud Canon] and, by circumstantial evidence, that he participated in some way.” D.E. 463,

    p.21 (citing Karnegis v. Oakes, 296 So. 2d 657, 658 (Fla. 3d DCA 1974)). 5 In other words,

    Canon maintains that it does not bear the burden of proving that Mr. van der Putten agreed to

    participate in a plan to defraud Canon; rather, it is sufficient that Mr. van der Putten knew

    someone else was planning to do so, and, separately, that he somehow participated.          Canon’s

    contention is contrary to Florida law.



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     Canon’s reliance on Karnegis is misplaced. Nowhere in the Karnegis decision does the court
    hold that merely knowing about a conspiracy is sufficient if the defendant participates in some
    way.

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           A civil conspiracy requires: (a) an agreement between two or more parties, (b) to do an

    unlawful act or to do a lawful act by unlawful means, (c) the doing of some overt act in

    pursuance of the conspiracy, and (d) damage to plaintiff as a result of the acts done under the

    conspiracy. Lipsig v. Ramlawi, 760 So. 2d 170, 180 (Fla. 3d DCA 2000); see also Raimi v.

    Furlong, 702 So. 2d 1273, 1285 (Fla. 3d DCA 1994) (mere knowledge of the conspiracy is

    insufficient; there must be an actual knowing participation). Although a conspiracy may be

    proven by circumstantial evidence, this may be done “only when the inference sought to be

    created by such circumstantial evidence outweighs all reasonable inferences to the contrary.”

    Diamond v. Rosenfeld, 511 So. 2d 1031, 1034 (Fla. 4th DCA 1987). It is improper to assume

    that parties participated in a conspiracy merely because they ultimately received some benefits.

    Raimi, 702 So. 2d at 1285; Karnegis, 296 So. 2d at 659.

    B.     Canon Failed To Present Specific Facts Demonstrating that Mr. van der Putten
           Conspired To Defraud Canon

           In the briefing before Magistrate Judge McAliley, Canon failed to present specific facts

    rebutting Mr. van der Putten’s motion for summary judgment. It now raises new arguments and

    purported facts, but still fails to point to any record evidence that warrants denial of summary

    judgment.

           Canon asserts that “[t]he record contains substantial evidence that Van[sic] der Putten

    was intimately involved with the transfer to Difoto, and that he had knowledge that the transfer

    rendered Lantech insolvent at a time when it owed substantial debts to Canonlat.” D.E. 463, p.

    21. Mr. van der Putten addresses each of Canon’s new “facts” below.




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              1.     Lantech’s interrogatory responses

              Canon first points to the fact that Mr. van der Putten signed a verification page for

    interrogatories answered by Lantech in March 2008. D.E. 463, p. 22, citing D.E. 398-1, p. 10

    The interrogatory responses describe the asset and purchase sale and explain that Lantech was an

    inactive company with no receivables or real property. D.E. 398-1, p. 10. According to Canon,

    this confirms Mr. van der Putten’s knowledge of the asset sale.

              Canon’s reliance on those interrogatories is fundamentally flawed. Mr. van der Putten

    verified only that he participated in preparing the answers, not that he was the person who

    supplied the answers or the person with first hand knowledge of the facts. Canon deposed Mr.

    van der Putten at length on this specific issue, and he explained that all of the information

    contained in the answers to interrogatories came from Lantech. See D.E. 354 at 163:13-175:7.

    Moreover, the verification page was signed in March 2008. Thus, the verification in no way

    constitutes evidence that Mr. van der Putten was involved in the asset sale at the time it occurred.

              2.     Mr. van der Putten’s Special Power of Attorney

              Lantech granted Mr. van der Putten a Special Power of Attorney. 6 The undisputed

    testimony established that the Special Power of Attorney expressly limits Mr. van der Putten’s

    powers on behalf of Lantech to doing that which is necessary to litigate the Costa Rica action.

    D.E. 354-1, R. van der Putten dep., at 53:21-56:6. This included his assistance in Canon I which

    was directly related to the Law 6209 claim. D.E. 350-1, M. Jiménez 1/12/2007 dep., at 204:24-

    206:9. Mr. van der Putten was never granted a general power of attorney from Lantech. D.E.

    354-1, at 56:1-6; D.E. 352-1, M. Jiménez 1/7/2009 dep., at 23:21-25.



    6
        A copy of the Special Power of Attorney is filed at D.E. 348.

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           There is no evidence that the Special Power of Attorney permitted Mr. van der Putten to

    sell Lantech’s assets. Even if Mr. van der Putten had that authority (which he did not), Canon

    does not present any evidence that he exercised it. Mr. Jiménez testified, without dispute, that

    Mr. van der Putten played no role in the transaction between Lantech and Easton Commerce.

    D.E. 351-1, at 11:3-9; 21:18-22:1. In short, Canon’s reference to the Special Power of Attorney

    is merely a distraction. The Special Power of Attorney does not constitute evidence, indirect or

    otherwise, that Mr. van der Putten agreed to defraud Canon, or even that he knew others were

    planning to defraud Canon.

           3.      Mr. van der Putten initiates the Law 6209 Action

           Canon asserts that Mr. van der Putten initiated the Law 6209 action “with [his]

    knowledge that Lantech was soon to be rendered insolvent.” Revised Appeal at p. 22. Plaintiff

    points to no record evidence to support this sweeping statement, and therefore does not satisfy its

    burden as the party resisting summary judgment. In lieu of evidence, Canon relies on the

    singular fact that the Law 6209 claim was initiated about a month before Lantech and Easton

    executed the Purchase and Sale Agreement.         This sequence of events does not amount to

    circumstantial evidence of Mr. van der Putten’s participation in a conspiracy to defraud Canon.

    Rather, it underscores that Canon is grasping at straws and that its complaint is based on pure

    speculation.

           4.      The sum of Canon’s evidence

           The universe of Canon’s evidence against Mr. van der Putten remains unchanged. As

    Magistrate Judge McAliley remarked, the sum total of Canon’s evidence against Mr. van der

    Putten is that Lantech hired him as counsel to file the Costa Rica action. No reasonable

    inference of an agreement between Mr. van der Putten and Mr. Jiménez or the Difoto Defendants

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    to defraud Canon through the sale of Lantech’s assets to Easton can be drawn from this, or any

    of the record evidence relied on by Canon. See Lochin v. Verizon Florida LLC, No. 8:09-cv-

    1535-T-23TBM, 2010 WL 4056034, * 6 (M.D. Fla. Oct. 15, 2010) (granting defendant summary

    judgment on claim of civil conspiracy where plaintiff provided insufficient evidence of a

    conspiracy).

           In conclusion, Canon fails to present factual evidence that creates a genuine dispute as to

    the civil conspiracy claim asserted against Mr. van der Putten. Accordingly, the Court should

    adopt Magistrate Judge McAliley’s recommendation and grant summary judgment in Mr. van

    der Putten’s favor.

                                    V.
          MAGISTRATE JUDGE McALILEY CORRECTLY GRANTED SUMMARY
        JUDGMENT IN FAVOR OF MANUEL JIMÉNEZ AS TO CIVIL CONSPIRACY

           Canon also asserts a civil conspiracy claim against Mr. Jiménez. Canon alleges that Mr.

    Jiménez sold Lantech’s assets and commenced the Law 6209 litigation for the purpose of

    defrauding Canon. Canon fails to present any evidence that creates a genuine dispute.

           In its Revised Appeal, Canon argues that Magistrate Judge McAliley “disregarded the

    substantial evidence showing that the so-called ‘arms length agreement’ was a fraudulent

    transfer.” D.E. 463, pp. 22-23. She did not. The R&R reveals that Magistrate Judge McAliley

    closely examined the “facts” upon which Canon relies and found that they were unsupported by

    the record excerpts cited. R&R at p. 19. Canon again attempts to cobble a story out of irrelevant

    and often unsupported facts. Each is addressed below:

           1.      “Jiménez met with and negotiated the fraudulent transfer with [Difoto]”

           Canon contends that “Jiménez met with and negotiated the fraudulent transfer with the

    then Chief Executive Officer of Difoto, Maria Tabush.” Revised Appeal (citing R&R at 21).

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    The referenced citation does not support this “fact.” Indeed, had Magistrate Judge McAliley

    found that Mr. Jiménez negotiated a fraudulent transfer, she certainly would not have granted

    summary judgment in his favor. The only fact actually established is that Mr. Jiménez and Ms.

    Tabush met to discuss forging a commercial transaction. D.E. 363-8, at 58:9-59:11. Canon’s

    attempt to characterize this as negotiation of a fraud is simply overreaching.

           2.      Mr. Jiménez “had his own agenda . . . to dispose of [a] personal loan”

           Canon also relies on the mistaken belief that Mr. Jiménez personally guaranteed one of

    Lantech’s business loans. For numerous reasons, Canon’s reliance on the guarantee is flawed.

           First, contrary to Canon’s representation, none of the deposition excerpts cited support

    the allegation that Jiménez “had his own agenda” or that he “tailored the transaction to dispose of

    the guarantee.” Revised Appeal at p. 23. Rather, Mr. Jiménez simply testified that the asset sale

    included the loan. Mr. Jiménez also errantly testified, without the benefit of transaction or loan

    documents before him, that he and other Lantech officers personally guaranteed that loan. Upon

    reviewing the pertinent documents, Mr. Jiménez corrected his prior testimony and stated by

    declaration that he did not personally guarantee that loan. D.E. 355.

           Second, even if Mr. Jiménez had guaranteed the loan, that act does not constitute

    evidence of a conspiracy. See Hoover v. Florida Hydro, Inc., No. 07-1100, 2009 WL 1380619

    (E.D. La. 2009) (applying Florida law). The plaintiff in Hoover alleged conspiracy to affect a

    fraudulent transfer against the defendant’s corporate director and pointed to the fact that the

    director had a “personal stake” because he had personally guaranteed the payment in question.

    Id. at *6. The court disagreed, noting that: “Personal guarantees by the company’s executive to

    assume an obligation of this closely held company does not thereby in and of itself show an

    activity that is separate and distinct from the corporation’s interest; nor does it, even minimally,

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    show the existence of a conspiracy.” Id. The court found that such allegations, even if true,

    were “insufficient to raise a question as to whether [the director] had a personal stake in the

    conspiratorial actions alleged ... .” Id. at *6.

            The Hoover Court’s interpretation of Florida is applicable here. Similar to Hoover,

    Canon alleges, albeit erroneously, that Mr. Jiménez has a personal agenda because he guaranteed

    Lantech’s loan. Canon identifies no other benefit Mr. Jiménez stood to gain. As held by the

    Hoover Court, these facts, even if true, are insufficient to raise a question as to whether Mr.

    Jiménez has a personal agenda for defrauding Canon.

            Finally, Plaintiff presents no evidence that Lantech was substantially likely to default or

    that the bank was substantially likely to invoke the guarantee. In fact, the record reveals that

    Lantech had sufficient cash flow and always kept the loan payments current. D.E. 351-1 at

    128:1-131:3. Accordingly, even if Mr. Jiménez had personally guaranteed the loan (he did not),

    he was not personally at risk.

            3.      Mr. Jiménez was actively involved in the asset sale and signed the Special Power
                    of Attorney

            Having eliminated the above contentions, the sum of evidence on which Canon rests its

    conspiracy claim is: (i) Mr. Jiménez was actively involved in the sale of Lantech’s assets and

    met with Difoto’s CEO to discuss the transaction; and (ii) in his capacity as President, Mr.

    Jiménez signed the Special Power of Attorney that Lantech granted to Mr. van der Putten. No

    reasonable inference of an agreement between Jiménez and Difoto to defraud Canonlat through

    the sale of Lantech’s assets to Easton can be woven from this threadbare evidentiary foundation.

            This does not even constitute circumstantial evidence of a conspiracy because Canon has

    not even attempted to demonstrate that the inference it seeks “outweighs all reasonable


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    inferences to the contrary.” Diamond, 511 So. 2d at 1034. The fact that Mr. Jiménez was the

    point person for litigation and that he participated in the asset sale could equally be explained as

    acts undertaken in the normal course of business in his capacity as President. Canon offers no

    basis for inferring that these acts carry any other import.

             In conclusion, Canon fails to present factual evidence that creates a genuine dispute as to

    the civil conspiracy claim asserted against Mr. Jiménez. Accordingly, the Court should adopt

    Magistrate Judge McAliley’s recommendation and grant summary judgment in Mr. Jiménez’s

    favor.

                                     VI.
          MAGISTRATE JUDGE McALILEY CORRECTLY GRANTED SUMMARY
         JUDGMENT AS TO MR. JIMÉNEZ ON PIERCING THE CORPORATE VEIL

             In Count III, Canon seeks pierce the corporate veil and hold Mr. Jiménez liable for

    Lantech’s alleged fraudulent transfer. Magistrate Judge McAliley recommended that the Court

    grant summary judgment in Mr. Jiménez’s favor on a simple and straight basis: he is not a

    shareholder of Lantech.      This conclusion is supported by both undisputed facts and well-

    established Florida law holding that only shareholders may be liable for the corporation’s debts

    under a veil piercing theory.

    A.       Mr. Jiménez is not a Shareholder of Lantech

             Magistrate Judge McAliley correctly found, based on her review of the evidence, that Mr.

    Jiménez is not a shareholder of Lantech. R&R at p. 24 (“The undisputed facts establish that

    Jimenez is not a shareholder of Lantech.”). This simple fact is uncontroverted.

             Lantech is owned by four shareholders – Edificio Jiménez, S.A.; Monty, S.A.;

    Immobilaria, MLS, S.A.; and Inversions del Poniente, S.A. D.E. 351-1 at 79:3-4; 83:14-25. Mr.

    Jiménez is a shareholder of Rapipunto Internacional, S.A.          Id. at 82:25-83:2.    Rapipunto

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    Internacional, S.A. has an ownership interest in Rapipunto, S.A. Id. at 79:3:83:4. In turn,

    Rapipunto owns twenty percent of Dimo Profesional, S.A. Id. at 79:3:83:4. Dimo Profesional,

    S.A., has an interest of approximately twenty-five percent in Edificio Jiménez, S.A. Id. Edificio

    Jiménez, in turn, has a twenty-five percent interest in Lantech.          Id.    These facts are

    uncontroverted.

           Canon wishes to create a genuine issue of material fact by citing to a truncated excerpt of

    Mr. Jiménez’s deposition.       Revised Appeal at p. 24 (“the R&R overlooks Jiménez’s

    unambiguous testimony that he was in fact a Lantech shareholder”). The passage reads:

           Q:      (by Canon) So I think what you are saying to me is that you personally
           are not a shareholder of Lantech, but through a company that you own or control
           you are a shareholder of Lantech, correct?

           A:    (by Jiménez) I don’t control that company, but, yes, through a series of
           companies, I end up being a small shareholder of Lantech.

    D.E. 351-1 at 43:17-23.

           Although not included in Canon’s citation, Mr. Jiménez immediately clarified:

           Q:     (by Canon) Through a series of companies?

           A:     (by Jiménez) Yes.

           Q:     Not just one company?

           A:     Not just one.

                                                 * * *

           Q:      So through a chain of at least five companies, you are and have a financial
           interest in Lantech, is that right?

           A:     That is correct




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    Id. at 43:24-44:11.      Mr. Jiménez then clearly explained the layers of corporate entities

    intervening between himself and Lantech. Id. at 79:3:83:25. Placed in context, Canon’s record

    citation does not establish that Mr. Jiménez owns Lantech.

             Canon’s attempt to create a disputed fact is not genuine. It remains uncontroverted that

    Mr. Jiménez is not a Lantech shareholder.

    B.       Piercing the corporate veil under Florida law

             A corporation is a legal entity, a fictional person capable of entering contracts and doing

    business in its own right. Molinos Valle Del Cibao, C. por A. v. Lama, No. 09-11153, 2011 WL

    651996, *13 (11th Cir. Feb. 24, 2011) (applying Florida law). The purpose of this fiction is to

    limit the liability of the corporation’s owners, whether it be individuals or other corporations. Id.

    Florida courts will not easily disregard this fiction. Id. (citing Roberts Fish Farm v. Spencer,

    153 So. 2d 718, 721 (Fla. 1963)).

             It is black letter law in Florida that to disregard this corporate fiction and pierce the

    corporate veil, the plaintiff must prove that:

             (1) the shareholder dominated and controlled the corporation to such an extent that the
             corporation’s independent existence, was in fact non-existent and the shareholders were
             in fact alter egos of the corporation;

             (2) the corporate form must have been used fraudulently or for an improper purpose; and

             (3) the fraudulent or improper use of the corporate form caused injury to the claimant.

    Id. (citing Gasparini v. Pordomingo, 972 So. 2d 1053, 1055 (Fla. 3d DCA 2008).

    “Shareholders” include individuals who own stock and parent companies who own their

    subsidiaries. Id. (citing McCormack v. Ribbeck, 702 So. 2d 271, 271-72 (Fla. 1st DCA 1997)

    and 17315 Collins Ave., LLC v. Fortune Dev. Sales Corp., 34 So. 3d 166, 168 (Fla. 3d DCA

    2010).

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           Canon contends that Magistrate Judge McAliley incorrectly analyzed the issue because

    ownership is not dispositive. Canon argues that case law on piercing the corporate veil instead

    focuses on the degree of actual control, and that Mr. Jiménez should be held individually liable

    because he controlled Lantech. The Eleventh Circuit recently assessed this very question and

    concluded that, under Florida law, ownership is a threshold requirement for piercing the

    corporate veil. Molinos, 2011 WL 651996, at *13-14.

           In Molinos, the plaintiff received a worthless check drawn from the account of corporate

    entities Chipstek and Expertek. Id. at *5. The plaintiff instituted an action to recover its monies

    and sought to hold an individual defendant, Lama, liable by piercing the corporate veil. Id. at

    *12. Lama argued that the plaintiff’s piercing the corporate veil claim failed as a matter of law

    because he was not a shareholder of either corporation. Id. at *13. Chipstek and Expertek were

    owned by Globaltek. Id. at *14. Globaltek was in turn owned by ORLS International Holdings,

    which was in turn owned by L&S Corp., which was, finally, owned by Lama. Id. at *14, n.21.

    In retort, the plaintiff argued that focus on ownership was a contrived approach to the law and

    that Lama should be held liable because he controlled Chipstek and Expertek by virtue of his

    position as director. Id. at *13.

           The Eleventh Circuit carefully examined Florida piercing the corporate veil jurisprudence

    and determined that Florida law, as predicted by the court, “does not permit a plaintiff to pierce

    the corporate veil against a non-shareholder director.” Id. at *15. Thus, the court held that the

    plaintiff’s corporate veil claim failed as a matter of law. Id. The court further noted that if the

    plaintiff believed that Chipstek and Expertek were really sham entities, it should have sued

    Globaltek, not Lama. Id. The court also observed that the plaintiff could hypothetically hold



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    Lama liable “by piercing the corporate veil through each corporation between Globaltek and

    Lama,” but it did not pursue this theory. Id. at *15, n.21 (emphasis added).

           Molinas governs here. Canon urges this Court to pierce through Lantech to a non-

    shareholder director and ignore each of the corporate entities between Lantech and Mr. Jiménez.

    This was the very proposition rejected by the Eleventh Circuit, and must also be rejected by this

    Court. Posner v. Essex Insurance Co., 178 F.3d 1209, 1217 (11th Cir. 1999) (absent Florida

    Supreme Court authority, federal district courts are bound by Eleventh Circuit interpretation of

    Florida law). Canon cannot reach Mr. Jiménez by piercing Lantech’s corporate veil because Mr.

    Jiménez is not a shareholder. Nor may the Court disregard the intervening corporate entities.

    Accordingly, as in Molinos, Canon’s piercing the corporate veil claim fails as a matter of law.

           For these reasons, the Court should adopt Magistrate Judge McAliley’s recommendation

    and enter summary judgment in favor of Mr. Jiménez on Count III.

                                    VII.
          MAGISTRATE JUDGE McALILEY CORRECTLY CONCLUDED THAT
       CANON IS NOT ENTITLED TO RECOVER ATTORNEYS’ FEES AS DAMAGES

           Canon seeks to recover attorneys’ fees as damages against all of the defendants. If the

    Court adopts Magistrate Judge McAliley’s recommendations that the defendants’ motions for

    summary judgment be granted for the reasons set forth above, it need not reach this issue.

           Canon seeks attorneys’ fees under two separate theories. First, as against Lantech, it

    asserts a claim for fees “incurred in being required to litigate against Difoto in Canon II.”

    Revised Appeal at p. 28. Canon seeks these fees under the wrongful act doctrine. Id. at 28-29.

    Magistrate Judge McAliley concluded that the wrongful act doctrine does not provide a basis for

    recovery of such fees. R&R at p. 32. Canon does not object to this component of Magistrate

    Judge McAliley’s recommendation, and thus, the recommendation should be adopted. Macort,

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    208 Fed. Appx. at 784-785 (no valid objection to report where party failed to specifically

    identify objectionable portions of recommendation and specific basis for its objections).

           Canon objects only to Magistrate Judge McAliley’s application of the wrongful act

    doctrine to the second category of fees: those incurred in Canon I and the Costa Rica action “as

    damages arising from the civil conspiracy perpetrated by the Difoto Defenants, Jiménez and

    Van[sic] der Putten.” D.E. 463 at p. 28 (emphasis added).7 Canon’s claim for this category of

    attorneys’ fees fails for numerous reasons.

           First, it is axiomatic that under the “American Rule,” each party bears its own attorneys’

    fees unless a contract or statute provides otherwise. See United States v. Pepper’s Steel &

    Alloys, Inc., 289 F.3d 741, 742 (11th Cir. 2002); Harbaugh v. Greslin, et al., 365 F. Supp.2d

    1274, 1276-7 (S.D. Fla. 2005) (citing Sholkoff v. Boca Raton Cmty. Hosp., Inc., 693 So. 2d 1114,

    1118 (Fla. 4th DCA 1997) (“attorney’s fees are recoverable from another party … when the

    parties have so agreed in advance or when the legislature has so provided in an applicable

    statute.”). Canon pled no such entitlement to recover its attorneys’ fees. Therefore, as a matter

    of law, its demand fails.

           Second, Canon now offers only one possible basis for recovery, the “catch all” provision

    of the Florida Uniform Fraudulent Transfer Act (“FUFTA”), § 726.103(1)(c)(3). However,

    Canon asserts no FUFTA claim against Mr. Jiménez or Mr. van der Putten. Thus, FUFTA

    cannot serve as a basis for recovering attorneys’ fees against these defendants.

           Third, the interpretation of FUFTA urged by Canon contravenes deeply rooted principles

    of statutory construction. It is well established that common law rules apply “unless clearly and

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      Canon has never claimed this category of fees against Lantech (in the original summary
    judgment briefing or its Revised Appeal). To be sure, Canon did not assert a conspiracy claim
    against Lantech and therefore could not pursue this theory against Lantech.

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    expressly abrogated by statute.” Humana Health Plans v. Lawton, 675 So. 2d 1382, 1384 (Fla.

    5th DCA 1996). A statute which is in derogation of common law “must be strictly construed,

    and the presumption is that no change in the common law is intended unless the statute explicitly

    so states.” Id. (citing Board of Trustees of the Internal Improvement Trust Fund v. Sand Key

    Assoc., Ltd., 512 So. 2d 934 (Fla.1987)). Statutes in derogation of common law will not be

    interpreted to displace the common law further than is clearly necessary. Id. (citing Carlile v.

    Game and Fresh Water Fish Commission, 354 So. 2d 362, 364 (Fla. 1977)). Inference and

    implication cannot be substituted for clear expression.      Id.   Moreover, statutes authorizing

    awards of attorney’s fees are in derogation of common law. McMullen Oil Co. v. ISS Intern.

    Serv. Sys. Inc., 698 So. 2d 372, 373 (Fla. 2d DCA 1997) (collecting cases).

           Here, Canon recognizes that FUFTA does not expressly provide for the recovery of

    attorneys’ fees as damages. Instead, Canon argues that FUFTA’s equitable nature grants the

    Court wide latitude in fashioning remedies, and that such remedies should include attorneys’

    fees. Applying the rules of construction set forth above, however, the absence of an explicit fee

    provision is fatal to Canon’s fee demand. The legislature could have expressly authorized the

    recovery of attorneys’ fees, but it did not. Therefore, the Court may not infer that the legislature

    intended to abrogate the common law rule.

           In sum, FUFTA’a catch all provision does not provide a basis for the recovery of fees

    incurred in Canon I and the Costa Rica action. Canon cites no other authority in support of its

    demand. Thus, as matter of law, Canon is not entitled to recover attorneys’ fees as damages.

    Accordingly, the Court should adopt Magistrate Judge McAliley’s recommendation and enter

    summary judgment in favor of all defendants on the issue of Canon’s attorneys’ fee demand.



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                                                VIII.
                                             CONCLUSION

           WHEREFORE, for the reasons outlined above, this Court should adopt each of
    Magistrate Judge McAliley’s recommendations and (i) deny Canon’s Rule 56(f) motion, (ii)
    enter summary judgment in Lantech’s favor as to Count I, (iii) enter summary judgment in Mr.
    van der Putten’s favor as to Count II, (iii) enter summary judgment in Mr. Jiménez’s favor as to
    Counts II and III; and (iv) enter summary judgment in favor of all defendants as to Canon’s
    attorneys’ fees demand.
    Dated: March 18, 2011                              Respectfully submitted,
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                                     CERTIFICATE OF SERVICE

           I hereby certify that on March 18, 2011, I electronically filed the foregoing document

    with the Clerk of the Court using CM/ECF. I also certify that the foregoing document is being

    served this day on all counsel of record or pro se parties identified on the attached Service List in

    the manner specified, either via transmission of Notices of Electronic Filing generated by

    CM/ECF or in some other authorized manner for those counsel or parties who are not authorized

    to receive electronically Notices of Electronic Filing.

                                                           s/ Maria Jose Moncada
                                                           Maria Jose Moncada


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                                       SERVICE LIST
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                      United States District Court, Southern District of Florida

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